        Case 4:17-cv-05783-HSG Document 503 Filed 10/30/23 Page 1 of 8



 1   BRIAN NETTER
     Deputy Assistant Attorney General
 2   STEPHANIE HINDS
     United States Attorney
 3   MICHELLE R. BENNETT
     Assistant Branch Director
 4   REBECCA KOPPLIN, Cal. Bar No. 313970
     MICHAEL GERARDI
 5   DANIEL RIESS
     Trial Attorneys
 6   United States Department of Justice
     Civil Division, Federal Programs Branch
 7   1100 L Street NW
     Washington, D.C. 20001
 8   Telephone: (202) 514-3953
     Email: rebecca.m.kopplin@usdoj.gov
 9   Counsel for Federal Defendants
10

11                      IN THE UNITED STATES DISTRICT COURT
12                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
13
                                      OAKLAND DIVISION
14
     ______________________________________
15                                             )
     STATE OF CALIFORNIA, et al.,              ) Case No.: 4:17-cv-5783-HSG
16                                             )
                        Plaintiffs,            )
17                                             ) JOINT STATUS REPORT
                  v.                           )
18                                             )
     XAVIER BECERRA, Secretary of              )
19   Health and Human Services, et al.,        )
                                               )
20                      Defendants,            )
                                               )
21          and,                               )
                                               )
22   THE LITTLE SISTERS OF THE POOR,           )
     ST. MARY’S HOME, et al.,                  )
23                                             )
                         Defendant-Intervenors )
24                                             )

25          On August 17, 2021, the Court stayed this case and ordered the parties to file status

26   reports every three months. ECF No. 467. The parties report as follows:

27          1. This case concerns the validity of two rules which create a moral exemption, and

28             expand a religious exemption, to the rules establishing the contraceptive coverage
                                                  1
                                        JOINT STATUS REPORT
                                        Case No.: 4:17-cv-5783
     Case 4:17-cv-05783-HSG Document 503 Filed 10/30/23 Page 2 of 8



 1
           requirement. See Religious Exemptions and Accommodations for Coverage of
 2
           Certain Preventive Services Under the ACA, 83 Fed. Reg. 57,536 (Nov. 15,
 3
           2018); Moral Exemptions and Accommodations for Coverage of Certain
 4
           Preventive Services Under the ACA, 83 Fed. Reg. 57,592 (Nov. 15, 2018).
 5
        2. The Court has before it fully briefed dispositive motions, see ECF Nos. 311, 366,
 6
           368, 370, as well as supplemental briefs addressing the Supreme Court’s decision
 7
           in Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct.
 8
           2367 (2020), see ECF Nos. 433, 435, 437, 438, 440.
 9
        3. On August 16, 2021, Federal Defendants announced that “[t]he Departments [of
10
           Health and Human Services, Treasury, and Labor] intend to initiate rulemaking
11
           within 6 months to amend the 2018 final regulations and obtaining public input
12
           will be included as part of the Departments’ rulemaking process.” CMS.Gov,
13
           Frequently Asked Questions, Affordable Care Act Implementation FAQs (Set 48)
14
           (Aug. 16, 2021) (available at https://perma.cc/2XH8-MDBX).
15
        4. The Federal Defendants published a notice of proposed rulemaking on February
16
           2, 2023, that would “amend regulations regarding coverage of certain preventive
17
           services under the Patient Protection and Affordable Care Act, which requires
18
           non-grandfathered group health plans and non-grandfathered group or individual
19
           health insurance coverage to cover certain contraceptive services without cost
20
           sharing.” U.S. Dep’t of Treasury, U.S. Dept’t of Labor, & Dep’t of Health &
21
           Human Servs., Coverage of Certain Preventive Services Under the Affordable
22
           Care Act (Feb. 2, 2023) (available at https://perma.cc/L58Q-VY4Q).            The
23
           comment period for the proposed rule closed on April 3, 2023. The Federal
24
           Defendants received over 44,000 comments to the proposed rule.
25
        5. The Court held its most recent status conference in this matter on February 7,
26
           2023. After the conference, the Court (1) ordered that the case should remain
27
           stayed and (2) directed the parties to attach to the next joint status report any
28
                                              2
                                    JOINT STATUS REPORT
                                    Case No.: 4:17-cv-5783
     Case 4:17-cv-05783-HSG Document 503 Filed 10/30/23 Page 3 of 8



 1
           comments on the notice of proposed rulemaking submitted by Plaintiffs or
 2
           intervenors. ECF No. 489.
 3
        6. The parties filed a status report with the comments of the Plaintiffs and intervenors
 4
           on the notice of proposed rulemaking on May 1, 2023. ECF No. 493.
 5
        7. The Federal Defendants can report that review and assessment of the comments
 6
           to the proposed rule, including comments from Plaintiffs and Intervenors, is
 7
           ongoing. Federal Defendants propose that the case remain stayed and that Federal
 8
           Defendants continue to file status reports every 90 days to apprise the Court of
 9
           the status of the rulemaking and their position on the need for a continued stay.
10
           The next status report would therefore be due on January 29, 2024.
11
        8. Plaintiff States do not oppose the case remaining in its current posture.
12
        9. Intervenor-Defendant March for Life concurs in the federal government’s
13
           proposal of a continued stay.
14
        10. Intervenor-Defendants The Little Sisters of the Poor maintain their position from
15
           prior filings that the stay should be lifted—at least as to the religious conscientious
16
           exemptions—and the Little Sisters’ motion for summary judgment decided.
17
           Plaintiff States’ lawsuit with respect to the religious exemptions was already
18
           futile, but it has become even more futile in light of the Ninth Circuit’s recent en
19
           banc decision in Fellowship of Christian Athletes v. San Jose Unified Sch. Dist.
20
           Bd. of Educ., 82 F.4th 664 (9th Cir. 2023) (en banc). In FCA, the Ninth Circuit
21
           recognized “three bedrock requirements of the Free Exercise Clause that the
22
           government may not transgress.” Id. at 686. “First, a purportedly neutral generally
23
           applicable policy may not have a mechanism for individualized exemptions.
24
           Second, the government may not treat comparable secular activity more favorably
25
           than religious exercise. Third, the government may not act in a manner hostile to
26
           religious beliefs or inconsistent with the Free Exercise Clause’s bar on even
27
           ‘subtle departures from neutrality.” Id. (cleaned up). What the Plaintiff States
28
                                               3
                                     JOINT STATUS REPORT
                                     Case No.: 4:17-cv-5783
     Case 4:17-cv-05783-HSG Document 503 Filed 10/30/23 Page 4 of 8



 1
          have asked for in this case would violate all three of those bedrock requirements.
 2
          Continuing to wait for the Federal Defendants’ Godot thus serves no purpose and
 3
          is deleterious to the rule of law. Indeed, as Intervenor-Defendants The Little
 4
          Sisters recently explained to the Supreme Court, this lawsuit (and its now six-year
 5
          pendency) epitomizes the brokenness of the federal regulatory process as it
 6
          intersects with the civil rights of religious people. See Amicus Br. of The Little
 7
          Sisters of the Poor, Loper Bright Enterprises v. Raimondo, No. 22-451, at 1-2
 8
          (filed July 24, 2023). No other area of civil rights litigation experiences the years-
 9
          long delays in this case, all based on the thinnest of regulatory reeds. Plaintiffs’
10
          and Federal Defendants’ charade thus casts a negative light on this Court while
11
          allowing them to avoid any accountability. The Court should therefore resolve the
12
          challenges to the religious exemption.
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                              4
                                    JOINT STATUS REPORT
                                    Case No.: 4:17-cv-5783
        Case 4:17-cv-05783-HSG Document 503 Filed 10/30/23 Page 5 of 8



 1   Dated: October 30, 2023                       Respectfully submitted,

 2                                                 BRIAN NETTER
                                                   Deputy Assistant Attorney General
 3
                                                   STEPHANIE HINDS
 4                                                 United States Attorney

 5                                                 MICHELLE R. BENNETT
                                                   Assistant Branch Director
 6
                                                   /s/ Rebecca Kopplin
 7                                                 REBECCA KOPPLIN
                                                   Cal. Bar No. 313970
 8                                                 MICHAEL J. GERARDI
                                                   DANIEL RIESS
 9                                                 Trial Attorneys
                                                   United States Department of Justice
10                                                 Civil Division
                                                   Federal Programs Branch
11                                                 1100 L Street NW
                                                   Washington, D.C. 20001
12                                                 Telephone: (202) 514-3953
                                                   Email: rebecca.m.kopplin@usdoj.gov
13                                                 Counsel for Federal Defendants
14                                                 /s/ Mark L. Rienzi
15                                                 Eric C. Rassbach – No. 288041
                                                   Mark L. Rienzi – pro hac vice
16                                                 Lori H. Windham – pro hac vice
                                                   Diana Verm Thomson – pro hac vice
17                                                 Adèle Auxier Keim – pro hac vice
                                                   Daniel L. Chen – No. 312576
18                                                 The Becket Fund for Religious Liberty
19                                                 1919 Pennsylvania Ave. NW, Suite
                                                   400
20                                                 Washington, DC 20036
                                                   Telephone: (202) 955-0095
21                                                 Facsimile: (202) 955-0090
                                                   erassbach@becketlaw.org
22
                                                   Counsel for Defendant-Intervenor The
23                                                 Little Sisters of the Poor

24

25

26

27

28
                                           5
                                 JOINT STATUS REPORT
                                 Case No.: 4:17-cv-5783
     Case 4:17-cv-05783-HSG Document 503 Filed 10/30/23 Page 6 of 8



 1
                                                  Respectfully submitted,
 2
                                                  ROB BONTA
 3                                                Attorney General of California
                                                  KATHLEEN BOERGERS
 4                                                Supervising Deputy Attorney General
                                                  KATAKEE KANE
 5                                                Deputy Attorney General

 6
                                                  /s/ Karli Eisenberg
 7                                                KARLI EISENBERG
                                                  Supervising Deputy Attorney General
 8                                                Attorneys for Plaintiff the State of
                                                  California
 9
                                                 WILLIAM TONG
10                                               Attorney General of Connecticut
                                                 MAURA MURPHY OSBORNE
11                                               Assistant Attorney General
                                                 Attorneys for Plaintiff the State of
12                                               Connecticut
13                                               KATHLEEN JENNINGS
                                                 Attorney General of Delaware
14                                               CHRISTIAN DOUGLAS WRIGHT
                                                 Director of Impact Litigation
15                                               JESSICA M. WILLEY
                                                 Deputy Attorney General
16                                               Attorneys for Plaintiff
                                                 the State of Delaware
17
                                                 BRIAN SCHWALB
18                                               Attorney General of the
                                                 District of Columbia
19                                               KATHLEEN KONOPKA
                                                 Deputy Attorney General,
20                                               Public Advocacy Division
                                                 Attorneys for Plaintiff the District of
21                                               Columbia

22                                               LOIO KUHINA
                                                 Attorney General of Hawaii
23                                               ERIN N. LAU
                                                 Deputy Attorney General
24                                               Attorneys for Plaintiff
                                                 the State of Hawaii
25
                                                 KWAME RAOUL
26                                               Attorney General of Illinois
                                                 HARPREET K. KHERA
27                                               Deputy Bureau Chief,
                                                 Special Litigation Bureau
28
                                        6
                              JOINT STATUS REPORT
                              Case No.: 4:17-cv-5783
     Case 4:17-cv-05783-HSG Document 503 Filed 10/30/23 Page 7 of 8



 1                                               ELIZABETH MORRIS
                                                 Assistant Attorney General,
 2                                               Special Litigation Bureau
                                                 Attorneys for Plaintiff
 3                                               the State of Illinois

 4                                               ANTHONY G. BROWN
                                                 Attorney General of Maryland
 5                                               CAROLYN A. QUATTROCKI
                                                 Deputy Attorney General
 6                                               STEVE M. SULLIVAN
                                                 Solicitor General
 7                                               KIMBERLY S. CAMMARATA
                                                 Director, Health Education
 8                                               and Advocacy
                                                 Attorneys for Plaintiff
 9                                               the State of Maryland
10                                               KEITH ELLISON
                                                 Attorney General of Minnesota
11                                               JACOB CAMPION
                                                 Assistant Attorney General
12                                               Attorney for Plaintiff
                                                 the State of Minnesota,
13                                               by and through its
                                                 Department of Human Services
14
                                                 LETITIA JAMES
15                                               Attorney General of New York
                                                 LISA LANDAU
16                                               Bureau Chief, Health Care Bureau
                                                 STEVEN C. WU
17                                               Deputy Solicitor General
                                                 Attorneys for Plaintiff
18                                               the State of New York
19                                               JOSHUA H. STEIN
                                                 Attorney General of North Carolina
20                                               SRIPRIYA NARASIMHAN
                                                 Deputy General Counsel
21                                               Attorneys for Plaintiff
                                                 the State of North Carolina
22
                                                 PETER F. NERONHA
23                                               Attorney General of Rhode Island
                                                 MICHAEL W. FIELD
24                                               Assistant Attorney General
                                                 Attorneys for Plaintiff
25                                               the State of Rhode Island

26                                               CHARITY R. CLARK
                                                 Attorney General of Vermont
27                                               ELEANOR SPOTTSWOOD
                                                 Assistant Attorney General
28
                                        7
                              JOINT STATUS REPORT
                              Case No.: 4:17-cv-5783
     Case 4:17-cv-05783-HSG Document 503 Filed 10/30/23 Page 8 of 8



 1                                               Attorneys for Plaintiff
                                                 the State of Vermont
 2
                                                 ROBERT F. FERGUSON
 3                                               Attorney General of Washington
                                                 JEFFREY T. SPRUNG
 4                                               Assistant Attorney General
                                                 Attorneys for Plaintiff
 5                                               the State of Washington

 6                                               Respectfully submitted,

 7                                               ELLEN F. ROSENBLUM
                                                 Attorney General of Oregon
 8                                                 /s/ J. Nicole DeFever
                                                 (as authorized on 5/1/2023)
 9                                                J. NICOLE DEFEVER,
                                                 CA Bar No. 191525
10                                               Senior Assistant Attorney General
                                                 Attorneys for Plaintiff-Intervenor
11                                               the State of Oregon
12

13                                              /s/ Kenneth J. Connelly
                                                KENNETH J. CONNELLY, AZ Bar
14                                              No. 25420
15                                              Alliance Defending Freedom
                                                15100 N. 90th Street
16                                              Scottsdale, AZ 85260
                                                Telephone: (480) 444-0020
17                                              Facsimile: (480) 444-0028
                                                Email: kconnelly@ADFlegal.org
18                                                Counsel for Defendant-Intervenor
19                                              March for Life Education and Defense
                                                Fund
20

21

22

23

24

25

26

27

28
                                        8
                              JOINT STATUS REPORT
                              Case No.: 4:17-cv-5783
